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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STANLEY F. FROMPOVICZ,                                        CIVIL ACTION
                Plaintiff,

                v.

 NIAGARA BOTTLING, LLC, ICE RIVER                              NO. 18-54
 SPRINGS WATER CO, INC.,
 CROSSROADS BEVERAGE GROUP
 AND JAMES J. LAND, JR.,
                 Defendants.


                                            ORDER

       AND NOW, this 16th day of October, 2020, upon consideration of Plaintiff’s Motion to

Enforce the Settlement Agreement (ECF No. 170), Defendant Niagara Bottling, LLC’s Motion

to Enforce the Settlement Agreement (ECF No. 171), Defendant James J. Land, Jr.’s response

thereto (ECF No. 172), and Niagara Bottling, LLC’s Reply thereto (ECF No. 173), IT IS

ORDERED that the Motions to Enforce the Settlement Agreement are hereby GRANTED.

       IT IS FURTHER ORDERED that the Defendant Niagara Bottling, LLC’s and

Plaintiff’s requests for costs and attorneys’ fees incurred in litigating this motion are hereby

GRANTED. Plaintiff and Niagara Bottling, LLC shall file briefs specifying the amount

requested no later than October 21, 2020. Defendant Land shall file any reply no later than

November 4, 2020.



                                                      BY THE COURT:

                                                      /s/Wendy Beetlestone, J.
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                                                      WENDY BEETLESTONE, J.
